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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                     MDL NO. 2924
   PRODUCTS LIABILITY                                                              20-MD-2924
   LITIGATION
                                                        JUDGE ROBIN L. ROSENBERG
                                               MAGISTRATE JUDGE BRUCE E. REINHART

   _______________________________/

   THIS DOCUMENT RELATES TO:

          20-cv-80211-RLR
          20-cv-80474-RLR
          20-cv-80487-RLR
          20-cv-80488-RLR
          20-cv-80491-RLR
          20-cv-80492-RLR
          20-cv-80493-RLR
          20-cv-80494-RLR
          20-cv-80495-RLR
          20-cv-80498-RLR
          20-cv-80499-RLR
          20-cv-80500-RLR
          20-cv-80501-RLR
          20-cv-80502-RLR
          20-cv-80503-RLR
          20-cv-80507-RLR
          20-cv-80583-RLR
          20-cv-80584-RLR
          20-cv-81135-RLR
          20-cv-81243-RLR

                             ORDER DECONSOLIDATING CASES

          This matter comes before the Court on the Notices of Voluntary Dismissal filed for the

   above-referenced cases. In light of the fact that these cases have been dismissed, it is ORDERED

   AND ADJUDGED that:

              1. The above-reference cases are DECONSOLIDATED from MDL proceeding

                 20-MD-2924.
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              2. The above-reference cases shall remain CLOSED.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 28th day of August,

   2020.


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                                                   ROBIN L. ROSENBERG
                                                   UNITED STATES DISTRICT JUDGE




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